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                                    HEARING MINUTES

 Cause No:           4:18-cv-3296
 Style:              Craft-Demming v. MD Anderson Cancer Center
 Hearing Type:       Pre-Motion Conference

Appearances:
 Counsel                                       Representing
 Ellen Sprovach (by telephone)                 Plaintiff

 Summer Lee                                    Defendant


 Date: January 27, 2020                        ERO: Yes
 Time: 12:04–12:38                             Law Clerk: B. Zubay


At the hearing, the following rulings were made as stated on the record:

          1. The Court was notified that the Plaintiff has shredded the documents at issue
             pursuant to the parties’ agreement, as stated on the record.

          2. MD Anderson will retain documents for two years as stated on the record.
